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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Criminal Action No. 21-cr-509 (TSC)

ANTONY VO,

Defendant.

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FINAL JURY INSTRUCTIONS

Note Taking by Jurors, Redbook 1.105B

During the trial, I have permitted those jurors who wanted to do so to take notes.
You may take your notebooks with you to the jury room and use them during your
deliberations if you wish. As I told you at the beginning of the trial, your notes are only
to be an aid to your memory. They are not evidence in the case, and they should not
replace your own memory of the evidence. Those jurors who have not taken notes should
rely on their own memory of the evidence. The notes are intended to be for the
notetaker’s own personal use.

Furnishing the Jury with a Copy of the Instructions, Redbook 2.100

I will provide you with a copy of my instructions. During your deliberations, you
may, if you want, refer to these instructions. While you may refer to any particular

portion of the instructions, you are to consider the instructions as a whole and you may

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not follow some and ignore others. If you have any questions about the instructions, you
should feel free to send me a note. Please return your instructions to me when your
verdict is rendered.

Function of the Court, Redbook 2.101

My function is to conduct this trial in an orderly, fair, and efficient manner; to rule
on questions of law; and to instruct you on the law that applies in this case.

It is your duty to accept the law as I instruct you. You should consider all the
instructions as a whole. You may not ignore or refuse to follow any of them.

Function of the Jury, Redbook 2.102

Your function, as the jury, is to determine what the facts are in this case. You are
the sole judges of the facts. While it is my responsibility to decide what is admitted as
evidence during the trial, you alone decide what weight, if any, to give to that evidence.
You alone decide the credibility or believability of the witnesses.

As I explained earlier, as human beings, we all have personal likes and dislikes,
opinions, prejudices, and biases. Generally, we are aware of these things, but you also
should consider the possibility that you have implicit biases, that is, biases of which you
may not be consciously aware. Personal prejudices, preferences, or biases have no place
in a courtroom, where the goal is to arrive at a just and impartial verdict. All people
deserve fair treatment in the legal system regardless of any personal characteristic, such
as race, national or ethnic origin, religion, age, disability, sex, gender identity or

expression, sexual orientation, education, or income level, or any other personal

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characteristic. You should determine the facts solely from a fair consideration of the
evidence.

You may not take anything I may have said or done as indicating how I think you should
decide this case. If you believe that I have expressed or indicated any such opinion, you

should ignore it. The verdict in this case is your sole and exclusive responsibility.

Jury’s Recollection Controls, Redbook 2.103

If any reference by me or the attorneys to the evidence is different from your own
memory of the evidence, it is your memory. that should control during your deliberations.

Evidence in the Case, Redbook 2.104 __,

During your deliberations, you may iconsider only the evidence properly admitted
in this trial. The evidence in this case consists of the sworn testimony of the witnesses,
the exhibits that were admitted into evidence, the facts and testimony stipulated to by the
parties.

During the trial, you-were-told-thatthe-parties-had-stipulated—that is, agreed—to

certain-facts.-You-should consider any stipulation of fact to be undisputed evidence:
( When you consider the evidence, you are permitted to draw, from the facts that you find
have been proven, such reasonable inferences as you feel are justified in the light of your

experience. You should give any evidence such weight as in your judgment it is fairly

entitled to receive.

Montage Video Limiting Instruction

You were shown a montage video from the U.S Capitol Police. The video shows

events at the Capitol from 12:51 pm to 4:31 pm. The video contains images of the

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breaches of the Capitol, attacks on police officers in different parts of the building at
different times throughout the day.

You may only consider this video for the limited purpose of determining why and
how the certification was suspended.

Statements of Counsel, Redbook 2.105

The statements and arguments of the lawyers are not evidence. They are only
intended to assist you in understanding the evidence. Similarly, the questions of the
lawyers are not evidence.

Presumption of Innocence/ Burden of Proof, Redbook 2.107

Every defendant in a criminal case is presumed to be innocent. This presumption
of innocence remains with the defendant throughout the trial unless and until the
government has proven he is guilty beyond a reasonable doubt. This burden never shifts
throughout the trial. The law does not require Mr. Vo to prove his innocence or to
produce any evidence at all. If you find that the government has proven beyond a
reasonable doubt every element of a particular offense with which Mr. Vo is charged, it is
your duty to find him guilty of that offense. On the other hand, if you find the
government has failed to prove any element of a particular offense beyond a reasonable
doubt, it is your duty to find Mr. Vo not guilty of that offense.

Reasonable Doubt, Redbook 2.108

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The government has the burden of proving Mr. Vo guilty beyond a reasonable

doubt. In civil cases, it is only necessary to prove that a fact is more likely true than not,

or, in some cases, that its truth is highly probable. In criminal cases such as this one, the

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government’s proof must be more powerful than that. It must be beyond a reasonable
doubt. Reasonable doubt, as the name implies, is a doubt based on reason—a doubt for
which you have a reason based upon the evidence or lack of evidence in the case. If,
after careful, honest, and impartial consideration of all the evidence, you cannot say that
you are firmly convinced of the defendant’s guilt, then you have a reasonable doubt.

Reasonable doubt is the kind of doubt that would cause a reasonable person, after
careful and thoughtful reflection, to hesitate to act in the graver or more important
matters in life. However, it is not an imaginary doubt, nor a doubt based on speculation or
guesswork; it is a doubt based on reason. The government is not required to prove guilt
beyond all doubt, or to a mathematical or scientific certainty. Its burden is to prove guilt
beyond a reasonable doubt.

Direct and Circumstantial Evidence, Redbook 2.109

There are two types of evidence from which you may determine what the facts are
in this case—direct evidence and circumstantial evidence. When a witness, such as an
eyewitness, asserts actual knowledge of a fact, that witness’s testimony is direct
evidence. On the other hand, evidence of facts and circumstances from which reasonable
inferences may be drawn is circumstantial evidence.

Let me give you an example. Assume a person looked out a window and saw that
snow was falling. If he later testified in court about what he had seen, his testimony
would be direct evidence that snow was falling at the time he saw it happen. Assume,

however, that he looked out a window and saw no snow on the ground, and then went to

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sleep and saw snow on the ground after he woke up. His testimony about what he had
seen would be circumstantial evidence that it had snowed while he was asleep.

The law says that both direct and circumstantial evidence are acceptable as a
means of proving a fact. The law does not favor one form of evidence over another. It is
for you to decide how much weight to give to any particular evidence, whether it is direct
or circumstantial. You are permitted to give equal weight to both. Circumstantial
evidence does not require a greater degree of certainty than direct evidence. In reaching a
verdict in this case, you should consider all of the evidence presented, both direct and
circumstantial.

Nature of Charges Not To Be Considered, Redbook 2.110

One of the questions you were asked when we were selecting this jury was
whether the nature of the charges itself would affect your ability to reach a fair and
impartial verdict. We asked you that question because you must not allow the nature of a
charge to affect your verdict. You must consider only the evidence that has been
presented in this case in reaching a fair and impartial verdict.

Number of Witnesses, Redbook 2.111

The weight of the evidence is not necessarily determined by the number of
witnesses testifying for each side. Rather, you should consider all the facts and
circumstances in evidence to determine which of the witnesses you believe. You might
find that the testimony of a smaller number of witnesses on one side is more believable
than the testimony of a greater number of witnesses on the other side or you might find

the opposite.

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Inadmissible and Stricken Evidence, Redbook 2.112, as applicable

The lawyers in this case sometimes objected when the other side asked a question,
made an argument, or offered evidence that the objecting lawyer believed was not proper.
You must not hold such objections against the lawyer who made them or the party he
represents. It is the lawyers’ responsibility to object to evidence that they believe is not
admissible.

If, during the course of the trial, I sustained an objection to a lawyer’s question,
you should ignore the question, and you must not speculate as to what the answer would
have been. If, after a witness answered a question, I ruled that the answer should be
stricken, you should ignore both the question and the answer and they should play no part
in your deliberations.

Likewise, exhibits as to which I have sustained an objection or that I ordered
stricken are not evidence, and you must not consider them in your deliberations.

Credibility of Witnesses, Redbook 2.200

In determining whether the government has proved the charges against the

defendant beyond a reasonable doubt, you must consider the testimony of all the
witnesses who have testified.

You are the sole judges of the credibility of the witnesses. You alone determine
whether to believe any witness and the extent to which a witness should be believed.
Judging a witness’s credibility means evaluating whether the witness has testified
truthfully and also whether the witness accurately observed, recalled, and described the

matters about which the witness testified.

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As I instructed you at the beginning of trial and again just now, you should
evaluate the credibility of witnesses free from prejudices and biases.

You may consider anything else that in your judgment affects the credibility of
any witness. For example, you may consider the demeanor and the behavior of the
witness on the witness stand; the witness’s manner of testifying; whether the witness
impresses you as having an accurate memory; whether the witness has any reason for not
telling the truth; whether the witness had a meaningful opportunity to observe the matters
about which he or she has testified; whether the witness has any interest in the outcome
of this case, stands to gain anything by testifying, or has friendship or hostility toward
other people concerned with this case.

In evaluating the accuracy of a witness’s memory, you may consider the
circumstances surrounding the event, including the time that elapsed between the event
and any later recollections of the event, and the circumstances under which the witness

was asked to recall details of the event.

You may consider the reasonableness or unreasonableness, the probability or
improbability, of the testimony of a witness in determining whether to accept it as true
and accurate. You may consider whether the witness has been contradicted or supported
by other evidence that you credit.

If you believe that any witness has shown him or herself to be biased or
prejudiced, for or against either side in this trial, or motivated by self-interest, you may
consider and determine whether such bias or prejudice has colored the testimony of the

witness so as to affect the desire and capability of that witness to tell the truth.

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You should give the testimony of each witness such weight as in your judgment it

is fairly entitled to receive.

Police Officer’s or Law Enforcement Official’s Testimony, Redbook 2.207, as

adapted

A police office or law enforcement official’s testimony should be evaluated by
you just as any other evidence in the case. In evaluating the police officer or law
enforcement official’s credibility, you should use the same guidelines that you apply to
the testimony of any witness. In no event should you give either greater or lesser weight
to the testimony of any witness merely because he is a police officer or law enforcement

official.

Right of Defendant Not to Testify, Redbook 2.208

Every defendant in a criminal case has an absolute right not to testify. Mr. Vo has
chosen to exercise this right. You must not-hold this decision against him/her, and it
would be improper for you to speculate as to the reason or reasons for his decision. You

must not assume the defendant is guilty because he/she chose not to testify.

Character of Defendant, Redbook 2.213

Mr. Vo has introduced testimony that he has a good reputation in the community
for being peaceful and law-abiding. Such evidence may indicate to you that it is unlikely
that a peaceful or law-abiding person would commit the crimes charged or it may not.
You may consider this evidence along with other evidence in the case, including evidence
that contradicts the two character witnesses’ character evidence, and give it as much

weight as you think it deserves.

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Notwithstanding the evidence of character, if, after weighing all the evidence, you
are convinced beyond a reasonable doubt that Mr. Vo is guilty of the crime charged, it is
your duty to find him guilty. On the other hand, evidence of good character alone may
create a reasonable doubt as to a defendant’s guilt, although without it the other evidence
would be convincing.

Elements of the Charged Offenses

1. ENTERING OR REMAINING IN A RESTRICTED BUILDING in violation

of 18 U.S.C. § 1752(a)(1)

Count One of the Superseding Information charges the defendant with entering or
remaining in a restricted building or grounds, which is a violation of federal law.

Elements

In order to find the defendant guilty of this offense, you must find that the
government proved each of the following elements beyond a reasonable doubt:

First, the defendant entered or remained in a restricted building or grounds without
lawful authority to do so.

Second, the defendant did so knowingly.
Definitions

The term “restricted building or grounds” means any posted, cordoned off, or
otherwise restricted area of a building or grounds where a person protected by the Secret
Service is or will be temporarily visiting.

The term “person protected by the Secret Service” includes the Vice President and

the immediate family of the Vice President.

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A person acts “knowingly” if he realizes what he is doing and is aware of the
nature of his conduct, and does not act through ignorance, mistake, or accident. In
deciding whether the defendant acted knowingly, you may consider all of the evidence,
including what the defendant did or said.

2. DISORDERLY OR DISRUPTIVE CONDUCT IN A RESTRICTED

BUILDING in violation of 18 U.S.C. § 1752(a)(2)

Count Two of the Superseding Information charges the defendant with disorderly
or disruptive conduct in a restricted building or grounds, which is a violation of federal
law.

Elements

In order to find the defendant guilty of this offense, you must find that the
government proved each of the following elements beyond a reasonable doubt:

First, the defendant engaged in disorderly or disruptive conduct in, or in proximity
to, any restricted building or grounds.

Second, the defendant did so knowingly, and with the intent to impede or disrupt
the orderly conduct of Government business or official functions.

Third, the defendant’s conduct occurred when, or so that, his conduct in fact
impeded or disrupted the orderly conduct of Government business or official functions.

Definitions

“Disorderly conduct” is conduct that tends to disturb the public peace or
undermine public safety. Disorderly conduct includes when a person acts in such a

manner as to cause another person to be in reasonable fear that a person or property in a

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person’s immediate possession is likely to be harmed or taken, uses words likely to
produce violence on the part of others, or is unreasonably loud and disruptive under the
circumstances.

“Disruptive conduct” is a disturbance that interrupts an event, activity, or the
normal course of a process.

The terms “knowingly” and “restricted building or grounds” have the same

meanings described in the instructions for Count One.

3. DISORDERLY CONDUCT IN A CAPITOL BUILDING OR GROUNDS in

violation of 40 U.S.C. § 5104(e)(2)(D)

Count Three of the Superseding Information charges the defendant with disorderly
and disruptive conduct in a Capitol Building or Grounds, which is a violation of federal
law.

In order to find the defendant guilty of this offense, you must find that the

government proved each of the following elements beyond a reasonable doubt:

First, the defendant engaged in disorderly or disruptive conduct in any of the
United States Capitol Buildings or Grounds.

Second, the defendant did so with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress.

Third, the defendant acted willfully and knowingly.

Definitions

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For purposes of this offense, “the orderly conduct of a session of Congress or
either House of Congress” includes the actions of Congress’ Joint Session to certify the
Electoral College vote.

A person acts “willfully” if he acts with the intent to do something that the law
forbids, that is, to disobey or disregard the law. While the government must show that a
defendant knew that the conduct was unlawful, the government does not need to prove
that the defendant was aware of the specific law that his conduct violated.

The term “knowingly” has the same meaning described in the instructions for
Count One.

‘Disorderly conduct” and “disruptive conduct” have the same meaning described
in the instructions for Count Two.

4. PARADING, DEMONSTRATING, OR PICKETING IN A CAPITOL

BUILDING in violation of 40 U.S.C. § 5104(e)(2)(G)

Count Four of the Superseding Information charges the defendant with parading,
demonstrating, or picketing in a Capitol Building, which is a violation of federal law.

In order to find the defendant guilty of this offense, you must find that the
government proved each of the following elements beyond a reasonable doubt:

First, the defendant paraded, demonstrated, or picketed in any of the United States
Capitol Buildings.

Second, the defendant acted willfully and knowingly.

Definitions

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The terms “parade” and “picket” have their ordinary meanings. The term
“demonstrate” refers to conduct that would disrupt the orderly business of Congress by,
for example, impeding or obstructing passageways, hearings, or meetings, but does not
include activities such as quiet praying.

The term “knowingly” has the same meaning described in the instructions for
Count One. The terms “Capitol Buildings” and “willfully” have the same meaning

described in the instructions for Count Three.

Defense Theory of the Case

Antony Vo, through his attorneys, submits the following Theory of the Defense
instruction:

Antony Vo is not guilty of the charged offenses because he did not enter the
Capitol building or grounds knowingly with a criminal intent. In other words, the
government has not proven that Mr. Vo knew that the Capitol grounds or the building
were “restricted at the time he entered those areas. Moreover, Mr. Vo is not guilty
because the government has not proven that he engaged in disorderly or disruptive
conduct while in the Capitol building or grounds. Finally, the government has not proven
that Mr. Vo engaged in any conduct that could be reasonably interpreted as parading,
demonstrating, or picketing; much less that he did so willfully and knowingly.

Proof of State of Mind, Redbook 3.101

Someone’s intent and knowledge ordinarily cannot be proved directly, because
there is no way of knowing what a person is actually thinking, but you may infer

someone’s intent or knowledge from the surrounding circumstances. You may consider

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any statement made or acts done by Mr. Vo, and all other facts and circumstances
received in evidence which indicate his intent or knowledge.

You may infer, but are not required to infer, that a person intends the natural and
probable consequences of acts he intentionally did or intentionally did not do. It is
entirely up to you, however, to decide what facts to find from the evidence received
during this trial. You should consider all the circumstances in evidence that you think are
relevant in determining whether the government has proved beyond a reasonable doubt

that Mr. Vo acted with the necessary state of mind.

Number.of Witnesses, Redbook 2.111. DUPL (ATS

the woh of the evidence is not necessarily determined by the number of
witnesses cane en side. Rather, you should consider all the facts and
circumstances in ovidence  e ine which of the witnesses you believe. You might
find that the testimony of a snatter of witnesses on one side is more believable
than the testimony of a greater number of vino the other side or you might find
the opposite.

Multiple Counts — One Defendant, Redbook 2.402

Each count of the indictment charges a separate offense. You should consider each
offense, and the evidence which applies to it, separately, and you should return separate
verdicts as to each count. The fact that you may find the defendant guilty or not guilty on
any one count of the-indictment should not influence your verdict with respect to any

other count of the indictment.

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At any time during your deliberations you may return your verdict of guilty or not
guilty with respect to any count.

Unanimity—General, Redbook 2.405

A verdict must represent the considered judgment of each juror, and in order to

return a verdict, each juror must agree on the verdict. In other words, your verdict on
each count must be unanimous.

Verdict Form Explanation, Redbook 2.407

You will be provided with a Verdict Form for use when you have concluded your
deliberations. The form is not evidence in this case, and nothing in it should be taken to
suggest or convey any opinion by me as to what the verdict should be. Nothing in the
form replaces the instructions of law I have already given you, and nothing in it replaces
or modifies the instructions about the elements which the government must prove beyond
a reasonable doubt. The form is meant only to assist you in recording your verdict.

Redacted Documents and Tapes, Redbook 2.500

During the course of this trial, a number of exhibits were admitted in evidence.
Sometimes only portions of an exhibit were admitted, such as portions of a longer video,
a document with some words or pictures blacked out or otherwise removed, or a video
played without audio. There are a variety of reasons why only a portion of an exhibit is
admitted, including that the other portions are inadmissible or implicate an individual’s
privacy. As you examine the exhibits, and you see or hear portions where there appear to

be omissions, you should consider only the portions that were admitted. You should not

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guess as to what has been taken out or why; and you should not hold it against either
party. You are to decide the facts only from the evidence that is before you.

Exhibits During Deliberations, Redbook 2.501

I will be sending into the jury room with you the exhibits that have been admitted
into evidence. You may examine any or all-of them as you consider your verdict(s).
Please keep in mind that exhibits that were only marked for identification but were not
admitted into evidence will not be given to iyou to examine or consider in reaching your

verdict.

Selection of Foreperson, Redbook 2.502

When you return to the jury room, you should first select a foreperson to preside
over your deliberations and to be your spokesperson here in court. There are no specific
rules regarding how you should select a foreperson. That is up to you. However, as you
go about the task, be mindful of your mission—to reach a fair and just verdict based on
the evidence. Consider selecting a foreperson who will be able to facilitate your
discussions, who can help you organize the evidence, who will encourage civility and
mutual respect among all of you, who will invite each juror to speak up regarding his or
her views about the evidence, and who will promote a full and fair consideration of that
evidence.

Communication Between Court and Jury During Jury’s Deliberations, Redbook

2.509
If it becomes necessary during your deliberations to communicate with me, you

may send a note by the clerk or marshal, signed by your foreperson or by one or more

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members of the jury. No member of the jury should try to communicate with me except
by such a signed note, and I will never communicate with any member of the jury on any
matter concerning the merits of this case, except in writing or orally here in open court.
Bear in mind also that you are never, under any circumstances, to reveal to any

person—not the clerk, the marshal or me—how jurors are voting until after you have
reached a unanimous verdict. This means that you should never tell me, in writing or in
open court, how the jury is divided on any matter—for example, 6-6 or 7-5 or 11-1, or in
any other fashion—whether the vote is for conviction or acquittal or on any other issue in

the case.

Attitude and Conduct of Jurors in Deliberations, Redbook 2.510

The attitude and conduct of jurors at the beginning of their deliberations are
matters of considerable importance. It may not be useful for a juror, upon entering the
jury room, to voice a strong expression of an opinion on the case or to announce a
determination to stand for a certain verdict. When one does that at the outset, a sense of
pride may cause that juror to hesitate to back away from an announced position after a
discussion of the case. Furthermore, many juries find it useful to avoid an initial vote
upon retiring to the jury room. Calmly reviewing and discussing the case at the beginning
of deliberations is often a more useful way to proceed. Remember that you are not
partisans or advocates in this matter, but you are judges of the facts.

Excusing Alternate Jurors, Redbook 2.511

The last thing I must do before you begin your deliberations is to excuse the

alternate jurors. As I told you before, the selection of alternates was an entirely random

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process; it’s nothing personal. We selected two seats to be the alternate seats before any
of you entered the courtroom. Since the rest of you have remained healthy and attentive, I
can now excuse those jurors in seats 12 and 3.

Before you two leave, I am going to.ask you to tear out a page from your
notebook, and to write down your name and daytime phone number and hand this to the
clerk. I do this because it is possible, though unlikely, that we will need to summon you
back to rejoin the jury in case something happens to a regular juror. Since that possibility
exists, I am also going to instruct you not to discuss the case with anyone until we call
you. My earlier instruction on use of the Internet still applies; do not research this case or
communicate about it on the Internet. In all likelihood, we will be calling you to tell you
there has been a verdict and you are now free to discuss the case; there is, however, the
small chance that we will need to bring you back on to the jury. Thank you very much for
your service, and please report back to the jury office to turn in your badge on your way

out.

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